                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF ALABAMA

IN RE:                                       )
                                             )
SIMPLICITY CATERERS, LLC                     )             CASE NO.: 19-82798-CRJ11
                                             )             CHAPTER 11
       Debtor.                               )
                                             )


                    SUBCHAPTER V TRUSTEE’S REPORT TO COURT

       COMES NOW, the Subchapter V Trustee Kevin D. Heard (“Trustee”) and submits the

following report:

       1.      On September 28, 2020 this Court entered an Order directing this Trustee to file a

preliminary report regarding the conduct and financial condition of the Debtor [Doc. 137].

       2.      On June 19, 2020 the Debtor filed a Report to Court and Motion to Convert Case

to Chapter 7 Proceeding [Doc. 143].

       3.      At the request of the Trustee, Debtor’s counsel provided various financial records

of the Debtor including its bank statements and operating reports. Based on a review of those

records the following initial observations can be made:

      a.       The records provided by the Debtor cover a period from September, 2019 through

               May, 2020. The Debtor has not filed a BA report for April but did file one for

               May, 2020.

      b.       The Debtor used as up to 3 separate bank accounts from which it paid expenses.

               These accounts were maintained at Ascend Federal Credit Union.

      c.       In October, 2019 the Debtor collected $30,181.56 based on its bank statements

               and expensed essentially this same amount.      In November, 2019 the Debtor

               collected $66,413 in receivables and again expensed essentially this same amount.


                                                 1

Case 19-82798-CRJ11         Doc 147 Filed 06/22/20 Entered 06/22/20 11:44:15                 Desc
                              Main Document    Page 1 of 3
     d.      In December, 2019 the Debtor collected $76,064 and expensed $72,905.

             However, the bank records for January, 2020 do not show any receivables

             collected. In February, 2020 the Debtor had $78,344.71 in receivables which

             were then collected in March, 2020.

     e.      The March, 2020 BA reports shows that the Debtor had $54,560 in current

             receivables due from the “National Guard”. These receivables remain unpaid as

             the bank statements for the months of April and May, 2020 show no deposits and

             no further activity. The May, 2020 BA report still shows a receivable due it in the

             amount of $52,205.

     f.      The bank records supplied by the Debtor show numerous withdrawals for which

             there is no documentation. Therefore, it is difficult at this time to verify that the

             expenses shown by the Debtor were paid or that it was unable to pay its

             employees or that Ms. Lanier has not received compensation as she asserts.

     g.      For this reason, the Trustee supports converting the case to Chapter 7 so that these

             withdrawals may be further explored and the expenses verified.

      Respectfully submitted on this the 22nd day of June, 2020.


                                                   /s/ Kevin D. Heard
                                                   Kevin D. Heard

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                                               2

Case 19-82798-CRJ11        Doc 147 Filed 06/22/20 Entered 06/22/20 11:44:15                Desc
                             Main Document    Page 2 of 3
                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 22nd day of June, 2020, I served a copy of the foregoing Subchapter
V Trustee’s Report to Court on the parties listed below by depositing the same in the United States
Mail, postage prepaid and properly addressed, via electronic mail at the e-mail address below, unless the
party being served is a registered participant in the CM/ECF System for the United States Bankruptcy
Court for the Northern District of Alabama, service has been made by a “Notice of Electronic Filing”
pursuant to FRBP 9036 in accordance with subparagraph II.B.4. of the Court’s Administrative Procedures
as indicated below:

Notice will be electronically mailed to:

Richard M Blythe Richard_Blythe@alnba.uscourts.gov, courtmaildec@alnba.uscourts.gov

Robert J Landry Robert_landry@alnba.uscourts.gov, courtmailann@alnba.uscourts.gov

Richard E O’Neal USAALN.BANKRUPTCY@usdoj.gov

Tazwell Shepard ty@ssmattorneys.com, janelle@ssmattorneys.com

Notice will not be electronically mailed to:

None.


                                                /s/ Kevin D. Heard
                                                Kevin D. Heard




                                                   3

Case 19-82798-CRJ11           Doc 147 Filed 06/22/20 Entered 06/22/20 11:44:15                    Desc
                                Main Document    Page 3 of 3
